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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARTIN W. NOTHSTEIN,                                    :
                                                        :
                                   Plaintiff,           :             CIVIL ACTION NO. 19-1631
                                                        :
        v.                                              :
                                                        :
USA CYCLING,                                            :
                                                        :
                                   Defendant.           :

                                                   ORDER

        AND NOW, this 19th day of October, 2020, after considering the objections to United

States Magistrate Judge Marilyn Heffley’s June 5, 2020 order filed by the plaintiff, Martin W.

Nothstein (Doc. No. 85); and after also considering (1) the complaint (Doc. No. 1); 1 (2) the

September 17, 2019 stipulated protective order (Doc. Nos. 17, 18); (3) the parties’ confidentiality

stipulation, which was entered as an order of court on January 6, 2020 (Doc. Nos. 29, 31); (4) the

amicus curiae brief of the United States Center for Safesport on the Scope of 36 U.S.C. §

220541(d) (Doc. No. 57); (5) the plaintiff’s motion to compel the production of unredacted

documents (Doc. No. 63); (6) the defendant’s memorandum of law in opposition to the motion to

compel (Doc. No. 75); (7) Judge Heffley’s June 5, 2020 order (Doc. No. 82); (8) the defendant’s

memorandum of law in opposition to the plaintiff’s objections (Doc. No. 91); and (9) the plaintiff’s

reply memorandum of law in support of his objections (Doc. No. 95); and after considering the

arguments from counsel for the parties during oral argument the court held via telephone on August

4, 2020; and for the reasons set forth in the separately filed memorandum opinion, it is hereby




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 The complaint is attached as exhibit B to the notice of removal filed by the defendant, USA Cycling. See Doc. No.
1 at ECF pp. 12–28.
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ORDERED that the plaintiff’s objections to Judge Heffley’s June 5, 2020 order are SUSTAINED

IN PART and OVERRULED IN PART as follows:

       1.       The objections, to the extent that the plaintiff contends that Judge Heffley’s June 5,

2020 order clearly errs because it permits redaction of non-privileged information pursuant to no

applicable privilege, see Pl. Martin W. Nothstein’s Obj. to the June 5, 2020 Order Under Fed. R.

Civ. P. 72(a) at 1, Doc. No. 85; Pl. Martin W. Nothstein’s Mem. of L. in Supp. of His Obj. to the

June 5, 2020 Order Under Fed. R. Civ. P. 72(a) at 4–9, Doc. No. 85-2, are OVERRULED; and

       2.       The objections, to the extent that the plaintiff contends that Judge Heffley’s June 5,

2020 order clearly errs and is contrary to law because it permits claw back of non-privileged

documents, see Pl. Martin W. Nothstein’s Obj. to the June 5, 2020 Order Under Fed. R. Civ. P.

72(a) at 2; Pl. Martin W. Nothstein’s Mem. of L. in Supp. of His Obj. to the June 5, 2020 Order

Under Fed. R. Civ. P. 72(a) at 9–10, are SUSTAINED. The specific portion of Judge Heffley’s

June 5, 2020 order which concluded that USAC’s claw back of the first name of a reporter of

alleged sexual abuse was proper, see June 5, 2020 Order at 3, is VACATED.


                                                       BY THE COURT:



                                                       /s/ Edward G. Smith
                                                       EDWARD G. SMITH, J.




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